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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
AMERICAN CIVIL LIBERTIES UNION,           )
                                          )
            Plaintiff,                    )
                                          )
            v.                            )                   Case No. 17-cv-01004 (APM)
                                          )
DEPARTMENT OF HOMELAND SECURITY, )
                                          )
            Defendant.                    )
__________________________________________)

                                   JOINT STATUS REPORT

        Plaintiff American Civil Liberties Union (“Plaintiff”) and Defendant Department of

Homeland Security (“Defendant”), by and through undersigned counsel, hereby respectfully

submit this joint status report to update the Court concerning Defendant’s processing of Plaintiff’s

Freedom of Information Act (“FOIA”) request seeking ten categories of documents concerning

Immigration and Customs Enforcement (“ICE”) policies related to hunger strikes and other

refusals to eat.

        In their most recent joint status reports, the parties have reported that due to the volume of

potentially responsive documents, they are conferring concerning potential options for narrowing

the scope of the request and prioritizing the processing of certain categories of documents. The

parties are continuing those efforts and ICE is continuing its processing and interim releases of

responsive documents.
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       In light of the foregoing, the parties respectfully request that they be permitted to continue

their discussions and to provide a further update to the Court on or before February 15, 2019.

Dated: November 16, 2018

Respectfully submitted,

/s/ David L. Sobel                                   JESSIE K. LIU,
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